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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                :                      CASE NO. 21-55752-PMB
                                      :
NEW VISION REALTY & INVESTMENTS, INC.,:                      CHAPTER 7
                                      :
     Debtor.                          :
                                      :

                                 CERTIFICATE OF SERVICE

        This is to certify that on August 31, 2021, I, Michael J. Bargar, caused to be served a true
and correct copy of the Order Approving Employment of Attorneys, Subject to Objection (Hourly
Fee) [Doc No. 26] by first class United States Mail, postage prepaid, on all of those entities set
forth at the addresses stated:

Office of the United States Trustee                  Donald Coleman
362 Richard B. Russell Building                      New Vision Realty & Investments, Inc.
75 Ted Turner Drive, SW                              3645 Marketplace Blvd.
Atlanta, GA 30303                                    Unit 130-593
                                                     Atlanta, GA 30344
Nicole Carson
The Carson Firm, LLC                                 Gendolyn J. Godfrey
225 Arthur Drive                                     Polsenelli PC
McDonough, GA 30252                                  1201 West Peachtree Street, NW, Suite 1100
                                                     Atlanta, GA 30309


       This is to certify further that on August 31, 2021, I, Michael J. Bargar, caused to be served
copies of the Order Approving Employment of Attorneys, Subject to Objection (Hourly Fee) [Doc
No. 26] by first class United States Mail, postage prepaid, on all of those entities set forth on
Exhibit “A” at the addresses stated.

         Respectfully submitted this 31st day of August, 2021.

                                              ARNALL GOLDEN GREGORY LLP
                                              Attorneys for Chapter 7 Trustee


                                              By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                  Michael J. Bargar
Atlanta, Georgia 30363                           Georgia Bar No. 645709
Phone: (404) 873-8500                             michael.bargar@agg.com



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